Case 4:11-cr-40037-SOH          Document 1313  Filed 04/03/14              Page 1 of 1 PageID #:
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                        IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF ARKANSAS
                                TEXARKANA DIVISION


UNITED STATES OF AMERICA                                                           RESPONDENT


v.                               Criminal No. 4:11-cr-40037-020
                                     Civil No. 4:13-cv-4102


ALVIN WEEKLY                                                                             MOVANT



                                             ORDER

       Movant, a defendant in this criminal matter, confined in the Memphis Federal Correctional

Inistitution, Memphis, Tennessee, has filed a Motion under 28 U.S.C. § 2255 to Vacate, Set Aside,

or Correct Sentence by a Person in Federal Custody. ECF No. 1275. He now files his Motion for

Appeal Bond, seeking to be released on bond or on his personal recognizance. ECF No. 1305.

Movant was sentenced to 140 months imprisonment in this matter and his direct appeal was

dismissed on his own motion on December 14, 2012. ECF No. 1008-1. Movant has provided no

basis for his request for bond or release and is not entitled to a bond or release pending resolution

of his § 2255 Motion.

       IT IS THEREFORE ORDERED the Motion for Appeal Bond (ECF No. 1305) is DENIED.

       ENTERED this 3rd day of April 2014.


                                                        /s/ Barry A. Bryant
                                                       HON. BARRY A. BRYANT
                                                       UNITED STATES MAGISTRATE JUDGE
